              Case 2:11-cr-00259-RAJ Document 176 Filed 10/22/21 Page 1 of 1




 1                                                          The Honorable Richard A. Jones
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 4
 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6
                                         AT SEATTLE
 7
      UNITED STATES OF AMERICA,                          NO. CR11-259 RAJ
 8
                                        Plaintiff,
 9                                                       ORDER TO SEAL
                          v.
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11
      COURTNEY N. POWELL,
12
                                        Defendant.
13
14
15          This matter has come before the Court on the motion to seal Exhibit 1 to the
16 Government’s Memorandum Regarding Supervised Release Evidentiary Hearing and
17 Disposition. The Court has reviewed the motion and records in this case and finds there
18 are compelling reasons to permit Exhibit 1 to be filed under seal, due to the sensitive
19 information contained therein.
20          IT IS HEREBY ORDERED that the Motion to Seal (Dkt. # 173) is GRANTED.
21 Exhibit 1 to the Government’s Memorandum Regarding Supervised Release Evidentiary
22 Hearing and Disposition shall remain under seal.
23          DATED this 22nd day of October, 2021.
24
25
26
                                                     A
                                                     The Honorable Richard A. Jones
27                                                   United States District Judge
28
     ORDER TO SEAL - 1                                                 UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
     United States v. Powell, CR11-259 RAJ
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
